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                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ANNA K. NUPSON,                          )
    Plaintiff,                           )
                                         )
         v.                              )     Case No. 2:18-cv-02505-NIQA
                                         )
SCHNADER HARRISON SEGAL & LEWIS          )
LLP, and BRUCE A. ROSENFIELD, ESQ.,      )
       Defendants.                       )




   BRIEF IN SUPPORT OF DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT




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                                          INTRODUCTION

         When this Court denied Defendants’ Motion to Dismiss on statute of limitations grounds,

it noted that the application of the statute of limitations is “an affirmative defense that is often fact-

dependent.” [ECF 62]. Despite more than three years of litigation and protracted discovery,

Plaintiff Anna K. Nupson (“Plaintiff” or “Anna”) has yet to create any record that would cause

reasonable minds to disagree that her claims are time-barred. Those claims arise from her

representation by Defendants Bruce A. Rosenfield (“Rosenfield”) and Schnader Harrison Segal &

Lewis LLP (collectively, “Defendants” or “Schnader”) in a transaction that took place nineteen

years ago in February 2003 (the “2003 Transaction”).

         Defendants move for summary judgment because the indisputable facts establish as a

matter of law that the statute ran no later than June 5, 2016, two years after Plaintiff’s counsel

stated in a letter that she was going to “proceed against Schnader.” That letter was filed as an

exhibit to a petition Plaintiff filed in the Orphans’ Court of Montgomery County on October 31,

2014. In fact, the statute expired much earlier, in 2009, two years after Plaintiff knew of a huge

increase in the value of the shares of stock that are the focal point of her lawsuit, far in excess of

the amount her trusts received in February 2003. It is uncontested that Plaintiff knew that she was

represented by Defendants in 2002 and 2003, that Defendants had conflicts of interest that were

disclosed in writing at the time, and that she agreed to have stock that was held in trusts for her

benefit redeemed for approximately $44.5 million. It is also uncontested that Plaintiff knew in

2007 that a publicly announced transaction occurred that resulted in a dramatically higher value

than four years earlier. When she knew of this increase in value in 2007, as a matter of well settled

Pennsylvania law, Plaintiff had an obligation to investigate any claims that she thought that she

might have as a result of the redemption in which she was represented by Defendants, or forever

waive the right to assert such claims. Instead, she waited another decade to file this suit.


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         Even if this action were not time-barred, summary judgment is appropriate for several

additional reasons. First, Plaintiff’s own admissions in her sworn deposition testimony in this case

defeat necessary elements of a legal malpractice claim. Second, as a matter of law, Plaintiff cannot

show adequate evidence of causation or non-speculative individual damages. Third, her alleged

damages would not belong to her—they would belong to trusts that owned the redeemed stock.

Neither these trusts nor their trustees are parties to this case. Plaintiff does not have standing to

pursue damages on behalf of the trusts and has made no attempt to do so. For any and all of these

reasons, Schnader and Rosenfield are entitled to judgment as a matter of law.

                FACTUAL BACKGROUND AND PROCEDURAL HISTORY

    I. Undisputed Facts Concerning the Middleton Family and Schnader’s Representation
       of the Family

         Virtually all facts in this case are undisputed. Plaintiff is one of three children born to

Herbert H. Middleton, Jr. (“Herbert”) and Frances S. Middleton (“Frances”). Ex. 1 (Affidavit of

John S. Middleton (Dec. 23, 2016) (“John Aff.”)) ¶¶ 8, 12. Their other children were Anna’s sister,

Lucia Middleton Hughes (“Lucia”), and brother, John S. Middleton (“John”). Id.

         Plaintiff’s paternal great-great grandfather, John Middleton, founded a specialty cigar and

tobacco retail store in 1857 that later went on to become John Middleton Inc. (“JMI”). Id. ¶ 1. JMI

was very successful, generating “vast wealth” for the Middleton family. Ex. 2 (3d Am. Compl.) ¶

12. By 2001, a series of transactions had led JMI to become a subsidiary of Bradford Holdings,

Inc. (“Bradford”), a holding company wholly owned by various members of the Middleton family.

Ex. 1 (John Aff.) ¶¶ 5, 10. Although Herbert’s sister owned some shares in Bradford, as did her

children and Herbert’s daughters (Lucia and Anna), it was customary within the Middleton family

for the bulk of shares in the company to be passed to the male heir and for leadership of the

company to follow. Ex. 3 (Deposition of Anna K. Nupson (“Nupson Dep.”)) at 13:8–14:20, 25:10–

                                                  2

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17. Until 2007, Bradford remained family operated, with Herbert taking the reins from his father

and then John from Herbert. Id. By 2000, John already had a controlling interest in Bradford as a

result of earlier transfers of Bradford stock within the family. Ex. 1 (John Aff.) ¶ 12.

         Schnader began its representation of the Middleton family and their businesses before the

1990s. Ex. 4 (Deposition of Bruce A. Rosenfield (“Rosenfield Dep.”)) at 22:14–23:4. Over the

course of several decades, Schnader represented Herbert, Frances, John, and Plaintiff, as well as a

host of other Middleton family business entities, including Bradford. Id. at 22:14–24:21.

Sometimes, Schnader represented individual Middleton family members, while other times it

represented the interests of the family as a whole (other than Lucia who had her own counsel at all

relevant times). Id. Although many different lawyers at Schnader worked on various matters for

the Middleton family and their businesses, Defendant Rosenfield held primary responsibility for

Middleton family trust and estates matters from the early 1990s through at least 2002.1 Id. at 22:16–

23:4. For example, Defendant Rosenfield oversaw Herbert’s and Frances’s estate planning, drafted

various family members’ wills and codicils thereto, and prepared documents for a trust Anna self-

settled in 1994. Id. at 31:14–32:7, 34:23–24, 40:11–22, 77:19-22, 80:2–7, 83:24–25.

         By 2000, Plaintiff’s mother, Frances S. Middleton (“Frances”), unhappy with Anna’s life

choices, felt that she already had sufficient wealth in earlier trusts that had been established for her

benefit and was not inclined to leave her anything further.2 Ex. 1 (John Aff.) ¶ 15. Against this


         1
          As set forth more fully below, Defendant Rosenfield did not represent John in any
capacity in connection with the 2003 Transaction. Ex. 5 (Bruce A. Rosenfield Letter to Frances B.
Middleton, Anna K. Nupson, and John S. Middleton (Oct. 11, 2002) (“Conflict Waiver Letter”)).
         2
         Under Pennsylvania law, a child has no right to inherit from a parent. Estate of Rothberg,
166 A.3d 378, 385–86 (Pa. Super. Ct. 2017) (affirming trial court reasoning that “[i]t has always
been the law of Pennsylvania that a parent does not have to leave any of his property to any of his
children” and “[t]he public policy of Pennsylvania in regard to disinheritance of relatives is guided
by the law which states ‘the only person who cannot be disinherited is the surviving spouse’”)
                                                3

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backdrop, and of particular relevance to this case, Defendant Rosenfield represented Frances in

settling a grantor retained annuity trust (“GRAT”), beginning in late 2000. Ex. 4 (Rosenfield Dep.)

at 94:11–17. In late 2000, Frances orally stated her intention to settle a GRAT with a two-year

annuity period funded by all of her Bradford shares for the sole benefit of John3 to be settled and

funded on February 1, 2001. Id. at 94:6–23, 100:22–25, 102:22–103:17. John was named the sole

trustee of the GRAT. Id. The GRAT was later memorialized in writing on November 19, 2001.

Ex. 6 (Agreement of Trust (Feb. 1, 2001) (“Original GRAT”)); Ex. 4 (Rosenfield Dep.) at 148:18–

20. This 2001 trust is referred to herein as the “Original GRAT.”

         A critical factor in the valuation of Frances’s Bradford shares for purposes of federal gift

tax was the redemption of Bradford shares owned by John’s cousins as of the same February 1,

2001 date. Ex. 4 (Rosenfield Dep.) at 94:11–17; Ex. 12 (Arias Dep.) at 41:16–42:21. The Original

GRAT served at least two purposes: (1) moving illiquid Bradford shares out of Frances’s estate

with minimal gift tax impact and replacing those shares with cash from annuity payments, Ex. 4

(Rosenfield Dep.) at 55:25–56:7, 80:13–16, 83:7–14; and (2) continuing the Middleton tradition

of passing the majority of Bradford shares to John, Herbert’s only son and the then-CEO of

Bradford, Ex. 3 (Nupson Dep.) at 13:8–14:20, 25:10–17.

         In early to mid-2002, Plaintiff’s sister Lucia began raising concerns about the Original

GRAT. Ex. 7 (Deposition of Lucia M. Hughes) at 19:11–14; Ex. 1 (John Aff.) ¶ 23. Upset with




(citations omitted); In re Agostini’s Estate, 457 A.2d 861, 865 (Pa. Super. Ct. 1983) (“[A] testator
with children can disinherit some or all of them for any reason whatsoever; he can give in his
lifetime and also by Will all of his property to the poor or to any charity he may desire, or he can
give it to a friend, or he can prefer one child over all the others.”); see also Estate of Rothberg, 166
A.3d at 385 (affirming trial court’s reliance on Agostini’s Estate).
         3
          In this context, “John” means John individually, his wife, his children and trusts
benefiting any of them.
                                            4

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the perceived inequity in her mother’s disposition of her shares in Bradford, Lucia caused an uproar

within the family, pressuring her mother to revise the GRAT’s terms to benefit the three Middleton

children equally and accusing her brother John of wrongdoing. Ex. 1 (John Aff.) ¶ 26; Ex. 8

(Declaration of John S. Middleton (“John Dec.”)) ¶ 4. At some point, Lucia threatened litigation

against John and/or Frances in connection with the Original GRAT. Ex. 8 (John Dec.) ¶ 4; Ex. 4

(Rosenfield Dep.) at 163:2–8, 197:10–13. In an effort to resolve the family’s disputes and avoid

unnecessary litigation, in mid-2002, John and Frances provisionally agreed to revise the GRAT

such that all three siblings would benefit from it equally. Ex. 1 (John Aff.) ¶¶ 25–28; Ex. 9 (Frances

B. Middleton Letter to Bruce A. Rosenfield (Oct. 10, 2002)); Ex. 4 (Rosenfield Dep.) at 163:2–8.

    II. Undisputed Facts Concerning the 2003 Transaction

         Having received provisional agreement from John and Frances to modify the Original

GRAT, the parties began negotiation of a family settlement agreement to achieve this outcome, as

well as resolve other family disputes (the “Family Settlement Agreement”). Ex. 1 (John Aff.) ¶¶

28–30; see also Ex. 10 (Settlement Agreement (Feb. 20, 2003)). On September 17, 2002, Frances

gathered Anna and Bruce at her home for a meeting, during which Bruce generally explained to

Anna what a GRAT was and the terms of the Original GRAT, including that all of Frances’s

Bradford stock was going to John. Ex. 3 (Rosenfield Dep.) at 63:23–64:16, 161:8–10; Ex. 11

(Handwritten Notes of Anna K. Nupson) (“John stock everything else to Lucia + me”).4 Around

this time it was determined that, although Rosenfield had represented each of them on trust and


         4
          Although Plaintiff claims she does not remember this meeting or being informed of the
Original GRAT, her limited recollection does not allow her to directly dispute that the meeting
occurred. Ex. 3 (Nupson Dep.) at 102:6–9. In fact, Plaintiff authenticated contemporaneous notes
taken at the meeting, which lay out in exacting detail the terms of Frances’s GRAT (e.g., the 108%
annuity payments). Id. at 104:1–110:8; Ex. 11 (Handwritten Notes of Anna K. Nupson). These
notes caused Plaintiff to acknowledge that Rosenfield at least described the GRAT to Plaintiff. Ex.
3 (Nupson Dep.) at 105:13–17.
                                                 5

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estates matters at various times in the past, it would be a conflict for him to simultaneously

represent John, Frances, and Anna in connection with negotiation of the Family Settlement

Agreement and Modified GRAT. Ex. 5 (Conflict Waiver Letter). As such, in October 2002,

Rosenfield presented John, Frances, and Anna with the Conflict Waiver Letter in which Rosenfield

disclosed that “in the past we have represented each of you individually in estate planning matters

and various trusts of which you are trustees and beneficiaries” but that in this matter (i.e.,

negotiation of the Family Settlement Agreement and modification of the GRAT), he would

represent only Frances and Anna. Id.




                                                6

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On or about October 14, 2002, Plaintiff executed the Conflict Waiver Letter, as did Frances. Id.

John also signed the Conflict Waiver Letter. Ex. 8 (John Dec.) ¶ 7. John was represented by Cozen

O’Connor P.C. and Lucia by Womble Carlyle Sandridge & Rice, LLP (now Womble Bond

Dickinson (US) LLP). Ex. 12 (Deposition of Elizabeth Arias (“Arias Dep.”)) at 9:3–22, 15:4–5,

28:18–21.

         Thereafter, the parties’ counsel engaged in protracted negotiation of the terms of the Family

Settlement Agreement and Modified GRAT, with several drafts of each and their various exhibits

and other incidental agreements being exchanged. E.g., Ex. 4 (Rosenfield Dep.) at 163:2–8; Ex.

13 (Deposition of Larry P. Laubach) at 63:19–64:1.

         In December 2002, Lucia requested that the parties come together and meet in person to

discuss the matter. Ex. 14 (Email from Bruce A. Rosenfield to Elizabeth Arias and Larry P.

Laubach (Dec. 4, 2002)). This meeting was held on December 19, 2002 and attended by Frances,

Anna, John, Lucia, and their respective counsel. Ex. 12 (Arias Dep.) at 29:4–30:10. During the

meeting, Lucia presented a proposal that Bradford redeem all of her and her family’s shares

following the GRAT’s annuity period, both shares she would receive from the GRAT and those

they currently held directly or indirectly. Ex. 15 (Bradford Holdings, Inc. Lucia Hughes &

Children Proposed Settlement). She proposed a purchase price of $205 per share for their Class B

non-voting shares and $215 per share for their Class A voting shares. Id. This price was based on

the cousins’ redemption on February 1, 2001 for the same price. Ex. 12 (Arias Dep.) at 41:16–

42:21. Lucia’s proposal also included that she would receive a $10 million preference under her

mother’s will. Ex. 15 (Bradford Holdings, Inc. Lucia Hughes & Children Proposed Settlement).

         Following the December 19 meeting, John made a counterproposal to Lucia, omitting any

preference under Frances’s will for Lucia but offering to redeem all of Lucia and her immediate
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family’s Bradford shares for $275 per share for their Class B non-voting shares and $288.41 per

share for their Class A voting shares. Ex. 16 (Larry P. Laubach Letter to Bruce A. Rosenfield (Jan.

21, 2003)). John made the same offer to Anna. Id. The redemption represented a significant risk

to John, as Bradford’s future success at the time was largely dependent on the outcome of highly

unpredictable tobacco litigation. Ex. 4 (Rosenfield Dep.) at 252:3–9; Ex. 3 (Nupson Dep.) at

195:17–196:13; Ex. 8 (John Dec.) ¶ 11. Following the 2003 Transaction, John and his family

owned all of Bradford. Ex. 10 (Settlement Agreement (Feb. 20, 2003) (“Family Settlement

Agreement”)) at Recitals, ¶ 4.

         Lucia accepted John’s offer. Ex. 17 (Elizabeth Arias Email to Larry P. Laubach (January

29, 2003)); Ex. 12 (Arias Dep.) at 57:6–20. Although Anna was hesitant to accept at first—in

particular because John and Frances would only agree to modify the GRAT and redeem her shares

if such shares and the proceeds were held in trust for her benefit rather than outright5 and did not

benefit any potential future adopted children. After some reflection, Plaintiff ultimately accepted

John’s offer as well. Ex. 3 (Nupson Dep.) at 181:4–183:15.

         In late February 2003, the 2003 Transaction closed, with a trust for Anna’s benefit

receiving the proceeds of Bradford’s redemption of one-third of the GRAT’s Bradford shares

(named the “2001 Trust” because of the date of the Original and Modified GRAT from which it

derived) and the 1994 Trust receiving the benefit of Bradford’s redemption of the shares held by



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          Plaintiff had a history of mental health problems, alcoholism, and tumultuous
relationships that were very concerning to her mother. Ex. 4 (Rosenfield Dep.) at 32:23–34:1; Ex.
8 (John Dec.) ¶ 5. As a result, Frances and Herbert often sought to protect Anna from herself and
from others who might try to take advantage of her. Ex. 4 (Rosenfield Dep.) at 32:23–34:1. For
example, Herbert asked Rosenfield in 1994 to draft a trust that Plaintiff herself settled that
transferred all of her assets (the “1994 Trust”), including her Bradford stock that she had received
from her grandparents, to the trust. Id. at 31:14–32:7; Ex. 19 (Agreement of Trust (Sept. 12, 1994)
(“1994 Trust”))
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it, for a total combined benefit of approximately $44.5 million. Ex. 18 (Agreement of Trust (Feb.

1, 2001) (“Modified GRAT”)); Ex. 1 (John Aff.) ¶ 48.

    III. Undisputed Facts Concerning the 2007 Altria Sale and Subsequent 2015 Orphans’
         Court Litigation

         Following the 2003 Transaction, all shares of Bradford were owned by John and members

of his immediate family or trusts for their benefit. Ex. 10 (Family Settlement Agreement) at

Recitals ¶ 4. In late 2007, more than four years after the 2003 Transaction, Bradford sold its

tobacco subsidiary, JMI, to Altria Group, Inc. (“Altria”), one of the world’s largest tobacco

companies, for $2.9 billion, representing a substantial increase in value of the company between

the 2003 Transaction and the sale to Altria. Ex. 3 (Nupson Dep.) at 192:12–18; 197:6–15. The sale

to Altria was publicly announced. Id. at 192:12–193:4. Plaintiff testified that she was aware of it

at the time. Id.

         From 2011 through 2015, Plaintiff engaged a number of attorneys who investigated

potential claims on her behalf in connection with the 2003 Transaction. First, Plaintiff retained

Jonathan Freund and John Stoviak in 2011 to review whether she could terminate her 1994 Trust

and 2001 Trust. Ex. 20 (Jonathan Freund Email to Bruce A. Rosenfield (July 12, 2011)). This

analysis included a review of the 2003 Transaction and Family Settlement Agreement. Id.; Ex. 21

(John S. Middleton Email to Jonathan Freund (June 1, 2011)). In notes taken by Stoviak in 2011,

he wrote, “Schnader Claim?” Ex. 22 (Affidavit of John F. Stoviak (Feb. 10, 2022)) Ex. A at 6.

Stoviak and Freund’s representation of Anna continued through at least January 2012. Ex. 23 (John

F. Stoviak Letter to Anna K. Nupson and Jonathan Freund (Jan. 16, 2012)).

         Sometime after 2011, Anna retained another new counsel, Thomas J. Budd Mucci, to

whom Freund transferred Anna’s representation. Ex. 24 (Deposition of Jonathan Freund) at 95:4–

97:11. In a June 5, 2014 letter from Mucci sent to John’s attorney, Larry Laubach of Cozen
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O’Connor P.C., which Plaintiff attached as an exhibit to a Petition for Declaratory Relief she filed

in the Montgomery County Orphans’ Court on October 31, 2014, her counsel stated explicitly that

Nupson “ha[s] determined to proceed against Schnader Harrison Segal & Lewis LLP” based upon

Schnader’s “ignoring these various conflicts of interest,” which allegedly left Plaintiff “severely

damaged.” Ex. 25 (Thomas J. Budd Mucci Letter to Larry P. Laubach (June 5, 2014) (“Mucci

Letter”)).




Notwithstanding that Anna and her counsel were aware of the alleged conflicts of interest that

“severely damaged” her in 2014, that threatened suit was not filed until June 15, 2018, more than

four years later

         Following a series of aggressive communications by Plaintiff’s counsel, in March 2015,

John and Bradford filed a declaratory judgment action in the Orphans’ Court in the docket for

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Frances’s 2001 Trust (the “Orphans’ Court Litigation”). Ex. 26 (Settlement Agreement (Feb. 26,

2018) (“2018 Settlement Agreement”)) ¶ 71. Like the instant case, the Orphans’ Court Litigation

involved the 2003 Transaction. Id. John and Bradford took the position that the 2003 Transaction

was valid with Plaintiff taking the position that the 2003 Transaction was invalid for a number of

reasons. Id. In 2018, Anna, John (in all of his capacities), and Bradford entered into a settlement

of their claims in the Orphans’ Court Litigation, with Bradford making a $22 million settlement

payment to Anna. See generally id.

         In the course of the Orphans’ Court Litigation, Plaintiff repeatedly made allegations against

Rosenfield and Schnader that demonstrate she had actual knowledge of her claims well more than

two years before she filed this lawsuit. Indeed, these verified pleadings largely repeat those in

Mucci’s June 5, 2014 letter. For example, in Plaintiff’s “Counterclaim and Petition for Declaratory

and Other Relief” filed June 23, 2015 (“2015 Counterclaim”), she states that “[i]n trying to

accommodate all of the competing interests of multiple clients with direct and indirect conflicts,

Bruce A. Rosenfield, Esq. was limited by prior representations and personal interests and was not

able to zealously and independently represent each of his clients. . . . Schnader was in the position

of having multiple clients with conflicting goals,” Ex. 27 (Counterclaim and Petition for

Declaratory and Other Relief (June 23, 2015)) ¶ 47, allegations that presage those in the Complaint

filed three years later.

         Likewise, in her verified “Answer and New Matter to Petition for Declaratory Relief and

Other Relief of John S. Middleton and Bradford Holdings, Inc.” also filed on June 23, 2015,

Plaintiff similarly alleged that although Rosenfield was Plaintiff’s “purported” counsel in

connection with the 2003 Transaction (referred to in that document as the “2003 Redemption”),

he had “years earlier begun to orchestrate the transaction in favor of [John] and had at all times an

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[sic] unwaivable conflicts of interest.” Ex. 28 (Answer and New Matter to Petition for Declaratory

Relief and Other Relief of John S. Middleton (June 23, 2015)) at 3. Plaintiff also denied that “she

was properly advised or represented by” Rosenfield. Id. ¶ 64. Finally, Plaintiff stated precisely the

cause of action she now asserts three years later: “Mr. Rosenfield would purport to represent Anna

K. Nupson in negotiations against Mr. [John] Middleton relating to the Bradford shares. Mr.

Rosenfield continued to represent Mr. Middleton as the Trust’s legal counsel throughout these

negotiations. Mr. Rosenfield and his firm had numerous and substantial conflicts in this multi-

faceted representation and was clearly not in a position to zealously and independently represent

Plaintiff in negotiating against Mr. Middleton and Bradford.” Id. ¶ 124; see also id. ¶ 141 (alleging

that Schnader had duty to Plaintiff to obtain highest possible price for her Bradford stock, while

under a conflicting duty to John to have Bradford pay lowest price).

         Legal arguments made by Plaintiff’s counsel in the Orphans’ Court Litigation make it

crystal clear that Plaintiff has long been aware of the claims she is currently making against

Schnader. Indeed, the “Introduction” section to one such Orphans’ Court filing is virtually

indistinguishable from what she alleges in her Complaint filed more than three years later.

Specifically, Plaintiff contended on May 20, 2015, in relevant part:

         This matter involves the systematic dissection and concealment of a beneficiary’s
         interest in two generations of a family’s estate plan for the purpose of carrying out
         the purchase and sale, by a trustee [John], of the family’s trust property, primarily
         to enrich the trustee at the expense of other beneficiaries.

         The destruction of the Middleton family’s estate plan and thwarting of Herbert Sr.
         and Anna Middleton’s intent and Herbert Jr. and Frances Middleton’s intent was
         carried out by a series of transactions culminating in two agreements: the 2003
         Family Settlement Agreement (herein “FSA”) and 2003 Master Settlement
         Agreement (herein “MSA”). These agreements accomplished two objectives: (1)
         the dismantling and amendment of seven irrevocable Middleton family trusts
         without court approval as required by law; and (2) the acquisition by a trustee of all
         of the shares of the Middleton family’s holding company [Bradford], at less than
         fair market value, for the eventual sale of the family’s tobacco company at 17 times
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         the purchase price paid by the Trustee for the tobacco company as well as two other
         family holdings.

         The concealment of the diminution of Ms. Nupson’s share occurred by having the
         attorney [Rosenfield], who represented the trustee-brother leading up to this
         complex transaction, then purport to represent one of the beneficiaries, Anna K.
         Nupson, in the sale of her interest in the family’s trust property and reorganization
         of those trusts, and then return to representing the trustee-brother following the sale
         of stock, as well as serve as co-trustee of a remaining Trust in which Ms. Nupson
         is the beneficiary.

See Ex. 29 (“Anna K. Nupson’s Response to John Middleton’s Motion to Strike her Objections to

the Petition for Adjudication of the Account and Proposed Distribution of the Anna Bauer Trust,

FBO Middleton Subtrust and the FBO Hughes Subtrust and the John Middleton, Inc. Trust” (May

20, 2015)) at 1–2. Notwithstanding this written confirmation of her knowledge of her claims, filed

of record in the Orphans’ Court, Plaintiff still waited another three years before asserting these

claims in this Court.

         Finally, in the verified “Petition For Discovery By Anna K. Nupson” filed June 23, 2015,

Plaintiff represented that “[t]he disputed facts and areas in which discovery is needed involve the

following matters . . . (f) [w]hether Bruce A. Rosenfield, Esq. had conflicts of interest while

purporting to represent Anna Nupson . . . which prevented him from reasonably concluding that

[he] could zealously represent Ms. Nupson, or worse, whether Mr. Rosenfield remained the agent

of John S. Middleton in structuring this transaction to accomplish Mr. Middleton’s goal of

consolidating his ownership and control of all of the Bradford stock . . . .” Ex. 30 (Petition for

Discovery by Anna K. Nupson (June 23, 2015)) ¶ 18. There is no genuine issue as to any of these

facts. All of them appear in filed pleadings in other cases and definitively demonstrate what

Plaintiff knew and intended more than three years before she filed suit.




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    IV. Plaintiff’s Third Amended Complaint

         The crux of Plaintiff’s Third Amended Complaint is that Schnader failed to adequately

represent her in the 2003 Transaction. Ex. 2 (3d Am. Compl.) ¶¶ 7–8, 44–45. In short, Plaintiff’s

experts think Rosenfield should have taken a harder bargaining position on her behalf and that,

perhaps, she could have gotten a higher price for her shares if he had. Ex. 31 (Expert Report of

Thomas Ross) at 5-6. Plaintiff alleges that “[a]t the time of the negotiations for the sale of the

stock” she was misled about her rights with respect to Bradford stock—presumably a reference to

the Shareholders’ Agreement discussed below—as well as the value of that stock. Ex. 2 (3d Am.

Compl.) ¶ 8. She further claims that Schnader led her “to believe that selling her interest in the

Bradford shares was in her best interests and . . . counseled her to proceed with the transaction”

and that Defendants were “motivated by their own conflicts of interest and their recent, undisclosed

representation of John in a secret transfer of 258,029 Bradford shares to a trust for John’s benefit.”

Id. ¶ 9. With respect to these alleged conflicts of interest, Plaintiff alleges that the 2002 Conflict

Waiver Letter was inadequate because it failed to address each matter as a separate representation;

to identify the client for each separate representation; or to identify and address other potential and

actual conflicts of interest. Id. ¶¶ 50–51.

         Plaintiff further claims that the 2003 Transaction was inconsistent with a 1982

Shareholders Agreement, in which Schnader represented the Middleton family, and several other

family agreements predating the 2003 Transaction. Id. ¶¶ 16–23. According to the Third Amended

Complaint, the purported “net effect” of these family agreements was that any transfer of Bradford




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shares required John, Lucia and Plaintiff “to retain proportional ownership in Bradford and or fair

value for relinquishing that proportional ownership.” Id. ¶ 23.6

         In defending her strategic decision to bring this action 16 years after the subject events took

place, the Third Amended Complaint alleges that during the course of discovery in the Orphans’

Court Litigation, Plaintiff learned for the first time a series of alleged “facts” that she contends

were concealed by Schnader. As noted above, these alleged newly disclosed facts relate to the

creation of the Original GRAT in 2001. Ex. 2 (3d Am. Compl.) ¶¶ 69–70. On November 19, 2001,

Frances signed a document memorializing the Original GRAT, which bore the same date that the

oral trust was established: February 1, 2001. Ex. 6 (Original GRAT); Ex. 2 (3d Am. Compl.) ¶ 34.

Plaintiff claims that she did not learn of the Original GRAT until it was disclosed in the Orphans’

Court in October 2016, Ex. 2 (3d Am. Compl.) ¶¶ 39, 56, but her contemporaneous handwritten

notes prove otherwise, Ex. 11 (Handwritten Notes of Anna K. Nupson). Tellingly, however,

Plaintiff does not deny knowledge of the existence of the Modified GRAT, which modified and

superseded the Original GRAT to Plaintiff’s benefit, for the obvious reason that she signed the

Family Settlement Agreement that included the Modified GRAT as an exhibit. These documents

clearly benefitted Plaintiff by conferring upon her a one-third interest in assets that she otherwise

would not have received. Therefore, the Modified GRAT itself could not be the cause of any harm

to Plaintiff. All of these transactions and the facts surrounding them occurred 15 years before the

Complaint was filed here.


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           Bradford shares were governed by a Shareholders’ Agreement which contained
restrictions on transfer of shares outside of eligible family members. Ex. 32 (Bradford Holdings,
Inc. Shareholders Agreement (Nov. 17, 1982)) at Art. 3. Contrary to the Third Amended
Complaint, nothing in the Shareholders’ Agreement required Frances to give shares equally to her
children. In her deposition, Plaintiff admitted that nothing in the Shareholders’ Agreement required
equal distribution of shares between the three Middleton children. Ex. 3 (Nupson Dep.) at 25:18–
26:25.
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                                   STANDARD OF REVIEW

         Summary judgment shall be granted “if the movant shows that there is no genuine issue as

to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

56(a). A factual dispute is genuine if a reasonable jury could return a verdict for the non-movant,

and it is material if, under the substantive law, it would affect the outcome of the suit. Anderson v.

Liberty Lobby Inc., 477 U.S. 242, 248 (1986). If the moving party meets this initial burden, the

non-moving party “cannot rely on unsupported allegations, but must go beyond pleadings and

provide some evidence that would show that there exists a genuine issue for trial.” Jones v. United

Parcel Serv., 214 F.3d 402, 407 (3d Cir. 2000); see also Fireman’s Ins. Co. v. DuFresne, 676 F.2d

965, 969 (3d Cir. 1982) (a party opposing summary judgment may not rely upon bare assertions,

conclusory allegations, or mere suspicions).

         To successfully oppose entry of summary judgment, the non-moving party must designate

specific factual averments through the use of affidavits or other permissible evidentiary material

that demonstrate a triable factual dispute. Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986);

Anderson, 477 U.S. at 247–50. Such evidence must be sufficient to support a jury’s factual

determination in favor of the non-moving party. Evidence that merely raises some metaphysical

doubt regarding the validity of a material fact is insufficient to satisfy the non-moving party’s

burden. Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). Further,

“[i]t is well settled that only evidence which is admissible at trial may be considered in ruling on

a motion for summary judgment.” Countryside Oil Co., Inc. v. Travelers Ins. Co., 928 F. Supp.

474, 482 (D.N.J. 1995); see also Fed. R. Civ. P. 56(c)(2).

         Where the non-moving party fails to adduce sufficient evidence in connection with an

essential element of the case for which it bears the burden of proof at trial, the moving party is


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entitled to entry of summary judgment. Celotex, 477 U.S. at 322–23. For example, courts in this

Circuit have routinely granted summary judgment where the plaintiff is unable to proffer sufficient

evidence that the defendant-attorney’s conduct caused her actual loss, an element required to state

a claim for legal malpractice. See, e.g., Fink v. Kirchner, 731 F. App’x 157, 160 (3d Cir. 2018)

(affirming District Court’s entry of summary judgment on legal malpractice claim in favor of

defendants where plaintiff “failed to put forth sufficient evidence to allow a jury to reasonably find

the requisite causal link between Defendants’ alleged conduct and [Plaintiff’s] alleged harm”);

Mahoney v. McDonnell, 616 F. App’x 500, 505 (3d Cir. 2015) (affirming District Court’s grant of

summary judgment on legal malpractice claim in favor of defendants where “the summary

judgment record fully supports the District Court’s conclusion that no reasonable jury could find

that [attorney’s conduct] was the proximate cause of” any damage to the plaintiff); Rinker v. Amori,

No. CV 3:15-1293, 2016 WL 6879617, at *9 (M.D. Pa. Nov. 22, 2016) (granting defendant’s

motion for summary judgment where plaintiff failed to meet his burden by sufficiently proving

with ‘reasonable certainty’ his actual loss”).

                                           ARGUMENT

    I. Plaintiff’s Claims Are Barred by the Statute of Limitations.

         Pennsylvania strictly applies statutes of limitations. See Commc’ns Network Int’l, Ltd. v.

Mullineaux, 187 A.3d 951, 961 (Pa. Super. Ct. 2018); Glenbrook Leasing Co. v. Beausang, 839

A.2d 437, 441 (Pa. Super. Ct. 2003), aff’d, 881 A.2d 1266 (Pa. 2005) (“[W]e are mindful of the

Pennsylvania courts’ policy favoring the strict application of statutes of limitation.”). Actions

based on tortious conduct, including legal malpractice actions, are governed by the two-year statute




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of limitations set forth in 42 Pa. C.S. § 5524.7 See Thompson v. Hens-Greco, Civ. A. No. 16-1100,

2017 WL 3616672, at *12 (W.D. Pa. Apr. 11, 2017) (“Pennsylvania imposes a two-year statute of

limitations on tortious conduct, including legal malpractice actions. 42 Pa. C.S.A. § 5524.”);

Edwards v. Thorpe, 876 F. Supp. 693, 695 (E.D. Pa. 1995) (“Plaintiff’s [legal malpractice] claims

are subject, at most, to a two year statute of limitations”); O’Kelly v. Dawson, 62 A.3d 414, 420

(Pa. Super. Ct. 2013) (“the question of when a statute of limitations runs is a matter typically

decided by the trial judge as a matter of law” and “it is undisputed that the statute of limitations in

this [legal malpractice] case is two years”).

         Under Pennsylvania law, a statute of limitations “begins running ‘from the time the cause

of action accrued[.]’” Rice v. Diocese of Altoona-Johnstown, 255 A.3d 237, 252 (Pa. 2021)

(quoting 42 Pa.C.S. § 5502(a)). “[A] cause of action accrues ‘when an injury is inflicted.’” Id.

(quoting Wilson v. El-Daief, 964 A.2d 354, 364 (Pa. 2009)).

         A.     There Is No Genuine Issue of Material Fact That Plaintiff’s Claims Accrued
                Well More Than Two Years Before Plaintiff Filed Her Case.

         When Pennsylvania’s occurrence rule is applied to the uncontroverted facts, it is clear that

the trigger for Plaintiff’s potential legal malpractice claim was the 2003 Transaction. Plaintiff

alleges that Schnader, driven by its alleged conflicts of interest, counseled her to agree to sell her

interests in Bradford for less than they were worth. Ex. 2 (3d Am. Compl.) ¶ 9. Thus, there is no

genuine issue of fact that Plaintiff’s cause of action accrued on the date of the alleged malpractice.

Wilson, 964 A.2d at 364.




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          An action “to recover damages for injury to person or property which is founded on
negligent, intentional, or otherwise tortious conduct or any other action or proceeding sounding in
trespass, including deceit or fraud” must be commenced within two years. 42 Pa. C.S. § 5524(7).
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         Even if Pennsylvania applied the more lenient rule that a claim accrues when damages are

suffered (which it does not), Bradford sold its tobacco subsidiary, JMI, to Altria in 2007 in a

publicly announced transaction. See Ex. 3 (Nupson Dep.) at 192:12–193:4. Plaintiff was aware of

the sale to Altria and knew that sale represented a value many times greater than the value at which

her trusts’ shares were redeemed in 2003. In 2007, she also knew that Schnader had potential

conflicts of interest at the time of the 2003 Transaction because she signed the Conflict Waiver

Letter in October 2002 acknowledging those very conflicts. Knowing the large disparity in the

2003 redemption price and the price implicit in the 2007 transaction, Plaintiff was thus under a

duty to inquire and investigate any claims that she might have had. Wilson, 964 A.2d at 356

(“[O]nce a plaintiff becomes aware of the injury, and who occasioned it, she is under a duty to

investigate the matter and commence a cause of action.”). This obligation to exercise reasonable

diligence required her to assert any such claims by 2009, almost a decade before she filed this

lawsuit. Rice, 255 A.3d at 252; Fine v. Checcio, 870 A.2d 850, 860 (Pa. 2005); McClain v. Golden,

Civ. A. No. 08-1347, 2017 WL 3226471, *6 (E.D. Pa. July 28, 2017) (Quiñones Alejandro, J.).

         In fact, Plaintiff did investigate her claims against Rosenfield through a series of attorneys

from 2011 onward, deciding at least as early as June 2014 to proceed with claims against him. Ex.

25 (Mucci Letter) (“Accordingly, we have determined to proceed against Schnader Harrison Segal

& Lewis LLP[.]”). Notwithstanding this fact, she still did not sue Rosenfield until filing her initial

Complaint in this matter nearly four years later in June 2018.

         Although the untimeliness of Plaintiff’s claims is apparent based on the above uncontested

facts, the grounds for summary judgment become even stronger in light of Plaintiff’s admissions

in the Orphans’ Court Litigation. Plaintiff’s verified filings demonstrate unmistakably that Plaintiff




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had actual knowledge of her potential claims against Defendants several years before she instituted

this litigation, but chose not to bring them.

         In a 2015 filing in the Orphans’ Court Litigation, Plaintiff placed her potential malpractice

claim squarely at issue, notwithstanding her strategic decision not to include Rosenfield and

Schnader as parties. Specifically, Plaintiff sought declaratory relief that Schnader “[i]n trying to

accommodate all of the competing interests of multiple clients with direct and indirect conflicts . . .

was limited by prior representations and personal interests and was not able to zealously and

independently represent each of [their] clients. . . . Schnader was in the position of having multiple

clients with conflicting goals.” Ex. 27 (Counterclaim and Petition for Declaratory and Other Relief

(June 23, 2015)) ¶ 47. Such allegations echoed Mucci’s June 5, 2014 letter, included as an exhibit

to her October 31, 2014 filing in Orphans’ Court, stating that Plaintiff “ha[s] determined to proceed

against Schnader Harrison Segal & Lewis LLP” based upon Schnader’s “ignoring . . . various

conflicts of interest,” which allegedly left her “severely damaged.” Ex. 25 (Mucci Letter).

         In other 2015 pleadings in the Orphans’ Court Litigation, Plaintiff made clear that the focal

point of her grievance against Schnader was its handling of the 2003 Transaction and Schnader’s

alleged undisclosed conflicts. For instance, Plaintiff alleged that “Mr. Rosenfield had years earlier

begun to orchestrate the transaction in favor of the trustee [John], and had at all times an [sic]

unwaivable conflicts of interest” Ex. 28 (Answer and New Matter to Petition for Declaratory Relief

and Other Relief of John S. Middleton (June 23, 2015)) at 3; that “Mr. Rosenfield and his firm had

numerous and substantial conflicts in this multi-faceted representation and was clearly not in a

position to zealously and independently represent Ms. Nupson in negotiating against Mr.

Middleton and Bradford” id. ¶ 124; and that Schnader had clients with conflicting interests because

Plaintiff and other trust beneficiaries had an interest in “obtain[ing] the highest price for their

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Bradford stock, while John’s interest was “for Bradford to pay the lowest possible price for the

shares,” id. ¶ 141.

         These allegations made in June 2015 are substantively identical to those asserted in this

action, which was not instituted until June 2018, in which Plaintiff alleges that Schnader

represented Plaintiff in connection with the sale of Bradford stock, Ex. 2 (3d Am. Compl.) ¶ 7;

that the net effect of the 2003 Transaction was that John became the sole owner of Bradford, id.

¶¶ 7, 44; that Defendants counseled Plaintiff to believe selling her interest in Bradford was in her

best interests, id. ¶ 9; and that, at the time of the 2003 Transaction, Schnader was under a conflict

of interest due to its representation of John, for which Schnader failed to obtain informed consent,

id. ¶¶ 48, 50.

         In short, it could not be any more obvious than when Plaintiff’s attorney sent a letter on

June 5, 2014 stating her intent to sue Schnader, and she later filed pleadings in the Orphans’ Court

Litigation in 2015 asserting that Schnader was conflicted when it represented her in connection

with the 2003 Transaction, Plaintiff knew all of the component elements of the claims she alleges

in the Complaint. No amount of rhetoric regarding Schnader’s alleged concealment and/or

nondisclosure of the facts wipes away her previous judicial statements demonstrating actual

knowledge of her purported claims more than four years before she filed this lawsuit. There is no

genuine issue of material fact as to when Plaintiff’s claims accrued or that they became time-barred

long before she commenced this action.

         B.      No Equitable Tolling Principles Apply To Delay Commencement Of The
                 Statute Of Limitations In This Case

         The allegations of the Complaint, verified pleadings in the Orphans’ Court Litigation, and

discovery in this matter conclusively demonstrate that Plaintiff knew of her claimed injury and its

alleged cause well more than two years before she sued Schnader. However, recognizing that she
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is suing for alleged injuries that occurred as the result of a transaction that closed fifteen years

before she filed her lawsuit, Plaintiff first seeks to invoke the “discovery rule” to toll the statute of

limitations governing her claims. She makes the highly strained argument that her claims are based

upon evidence that she purportedly discovered for the first time in the course of the Orphans’ Court

Litigation. Specifically, Plaintiff contends she was unaware: (1) of the existence of the Original

GRAT, which was solely for the benefit of John and his immediate family, until October 2016

(which is contradicted by her 2002 handwritten notes), Ex. 2 (3d Am. Compl.) ¶ 56; and (2) that

the Original GRAT had been an “oral trust” until November 2001, when the Original GRAT was

executed and was dated February 1, 2001, id. ¶ 59. Plaintiff next seeks to toll using the doctrine of

fraudulent concealment, asserting that facts regarding Schnader’s alleged conflict of interest were

fraudulently concealed from her by Rosenfield. But neither of these equitable tolling principles

have any application on these undisputed facts.

                1.      The Discovery Rule Does Not Toll Plaintiff’s Statute of Limitations to
                        2018.

                        a.      Plaintiff Discovered Her Claimed Injury and Its Alleged Cause
                                More Than Two Years Before She Sued Defendants.

         Although Plaintiff, through Mucci, wrote a letter on June 5, 2014 asserting knowledge of

her claimed injury and its supposed cause, she waited more than four years to sue Defendants. She

tries to invoke equitable tolling to excuse her delay, claiming to have learned of additional facts

supporting her claim while litigating with her brother, but doctrines that toll the limitations period

are “narrow exception[s] and should be applied in only the most limited circumstances.” Spade v.

Star Bank, No. Civ. A. 01-3349, 2002 WL 31492258, at *9 (E.D. Pa. Nov. 6, 2002). Accordingly,

“Courts must use equitable tolling sparingly, and must evaluate whether a plaintiff ‘has shown that

he or she exercised reasonable diligence in investigating and bringing [the] claims.’” McClain,


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2017 WL 3226471, *6 (Quiñones Alejandro, J.) (citation omitted). Whether a plaintiff has offered

sufficient facts to support the applicability of a tolling doctrine, such as fraudulent concealment or

the discovery rule, may be determined as a matter of law. Doe v. E. Hills Moravian Church, Inc.,

C.A. No. 12-5823, 2013 WL 5050593, at *4–5 (E.D. Pa. Sept. 13, 2013).

         Under Pennsylvania law, the statute of limitations of a legal malpractice claim is tolled by

the discovery rule only until the plaintiff is put upon “inquiry notice.” Rice, 255 A.3d at 251

(quoting Wilson, 964 A.2d at 364). Inquiry notice “ties commencement of the limitations period

to actual or constructive knowledge of at least some form of significant harm and of a factual cause

linked to another’s conduct, without the necessity of notice of the full extent of the injury, the fact

of actual negligence, or precise cause.” Id. (quotation omitted).

         In Rice, a victim tragically assaulted by her childhood priest sued the Diocese of Altoona-

Johnstown thirty-five years after the alleged abuse stopped, invoking the discovery rule and

fraudulent concealment because she did not know until a 2014 grand jury report that the Diocese

was aware of other instances of sexual abuse by her priest but nevertheless returned him to a parish.

Id. at 242. The Supreme Court concluded that neither exception to the statute of limitations applied

because “Rice knew of her injury at the time of each alleged assault and she knew that Bodziak

caused the injury.” Id. at 251. Even if she did not know of the Diocese’s role at that time, she knew

of her injury and its cause by the priest and could have filed suit against him and “s[ought]

discovery from the Diocese.” Id.

         The Third Circuit recently applied the Pennsylvania Supreme Court’s November 2001

decision in Rice to hold that the statute of limitations runs from the accrual of a cause of action.

SodexoMAGIC, LLC v. Drexel Univ., Nos. 19-1028, 19-1107, 2022 WL 176427, at *18 (3d Cir.

Jan. 20, 2022). There, Drexel asserted that its fraud claim was tolled until it received discovery

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materials suggesting that “SDM never intended to fulfill the commitments it made in its final

offer.” Id. at *19. But it was “undisputed that Drexel had constructive knowledge of SDM’s

allegedly false intentions by that date.” Id. Here, there is no factual dispute whatsoever that

Plaintiff had actual knowledge through a 2007 public announcement of the sale price differential

between what she was paid in 2003 and the company obtained in 2007. Ex. 3 (Nupson Dep.) at

192:12–193:4. At that point in 2007, Plaintiff knew of the scope of potential injury, she knew that

Schnader had a conflict in 2003, and she had an obligation to exercise reasonable diligence,

investigate any potential claim and bring it within two years from the 2007 public announcement.

Rice and SodexoMAGIC mandate dismissal of these time-barred claims.

         The discovery rule serves to toll the running of the statute of limitations only if the

defendant, through fraud or concealment, causes the plaintiff to relax his vigilance or deviate from

his right of inquiry into the facts. Rice, 255 A.3d at 252 (quoting Fine, 870 A.2d at 861.) Here,

rather than establishing that Plaintiff relaxed her vigilance or deviated from her inquiry into the

facts, the undisputed evidence demonstrates quite the opposite. From at least 2011, she was

represented by a series of attorneys who thoroughly investigated the 2003 Transaction and

concluded no later than June 2014 that a legal malpractice claim could and should be brought

against Rosenfield. Ex. 25 (Mucci letter). Through her attorney’s June 5, 2014 letter and her sworn

pleadings in the Orphans’ Court Litigation, Plaintiff admits that she knew of her claimed injury

and its alleged cause more than two years before she sued Schnader. That ends any argument that

she was misled. Moreover, to the extent Plaintiff argues additional facts only recently discovered

motivated her finally to sue Schnader in 2018, such argument is both legally irrelevant and

demonstrates that she failed to exercise the required level of reasonable diligence. See also

Baselice v. Franciscan Friars Assumption BVM Province, Inc., 879 A.2d 270, 276 (Pa. Super. Ct.

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2005) (holding that the statute of limitations begins to run when the injured party “possesses

sufficient critical facts to put him on notice that a wrong has been committed and that he need

investigate to determine whether he is entitled to redress”).

         In Baselice, a twenty-six-year-old plaintiff alleged improper sexual contact by a priest who

also introduced the plaintiff to drugs and alcohol, resulting in the plaintiff’s addiction. Id. at 273.

While the plaintiff was in an in-patient treatment facility on the recommendation of the

Archdiocese of Philadelphia, the Archdiocese attempted to contact him about a settlement

agreement. Id. at 274. The plaintiff argued that the statute of limitations should be tolled because

he did not and could not have known that he was injured by the Archdiocese and other defendants

at the time he was abused. Id. at 275. The Pennsylvania Superior Court held that neither the

discovery rule nor fraudulent concealment applied to toll the statute of limitations. The Court found

that because the plaintiff had knowledge of the abuse and the identity of his abuser, allegations

that defendants had been complicit in the misconduct did not suffice to invoke the discovery rule.

Id. at 277. Finding that the facts demonstrating the case was time-barred were so clear that

reasonable minds could not differ, the Court affirmed judgment on the pleadings in favor of

defendants. Id. at 276, 279. So, too, in this case, the 2003 Transaction that forms the basis of

Plaintiff’s alleged cause of action occurred more than 15 years before she initiated this lawsuit.

Plaintiff had knowledge that Schnader had represented her in connection with that 2003

Transaction, she signed the Conflict Waiver Letter acknowledging Schnader’s conflicts in October

2002, she knew the scope of the potential injury in 2007, and has long alleged that the 2003

Transaction caused her to suffer harm. Accordingly, it was incumbent upon Plaintiff to act with

reasonable diligence to investigate Schnader’s role in causing the alleged harm.




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         Moreover, any argument by Plaintiff for tolling commencement of the statute of limitations

until 2016 is conclusively defeated by the statements made in the June 5, 2014 letter from

Plaintiff’s general counsel and in sworn pleadings in the Orphans’ Court Litigation discussed

above. The Superior Court’s decision in Trice v. Mozenter, 515 A.2d 10 (Pa. Super. Ct. 1986),

aff’d, 621 A.2d 108 (Pa. 1993), is on point. In Trice, the plaintiff successfully appealed his criminal

conviction, arguing ineffective assistance by the defendant-attorney. After his criminal conviction

was overturned by the Third Circuit, plaintiff brought a civil action against his former attorney,

arguing that defendant’s negligence had caused plaintiff to be unjustly convicted and deprived of

his freedom for many years.

         When the defendant-attorney filed a motion for judgment on the pleadings in the civil

action, arguing that his former client’s claim was barred by the two-year statute of limitations, the

plaintiff asserted that his complaint was timely because he could not have discovered his cause of

action until the Third Circuit’s decision reversing his conviction based on ineffective assistance

and the complaint was filed less than two years later. Id. at 515 A.2d at 11. The Court rejected

plaintiff’s argument, reasoning: “[s]uffice it to say . . . the plaintiff knew or should have known

that he had sustained an injury by the date he signed the Motion, Affidavit and Memorandum in

support of his contention that trial and appellate counsel was ineffective.” Id. at 14–15. By that

time, plaintiff “had lost all confidence in counsel’s stewardship, [which] should have prompted

him to act.” Id.

         Similarly, in this case, when Plaintiff hired independent counsel, who sent a letter explicitly

stating that Plaintiff had “determined to proceed against Schnader Harrison Segal & Lewis LLP”

based upon Schnader’s “ignoring . . . various conflicts of interest,” which allegedly left Anna

“severely damaged,” Plaintiff clearly expressed that she had “lost all confidence in counsel’s

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stewardship” and was required to act on her concerns. Trice, 515 A.2d at 15. Plaintiff’s obligation

to act became even stronger in 2015, when she verified and submitted court documents in which

she accused Schnader of, among other things: trying to accommodate all of the competing interests

of multiple clients with direct and indirect conflicts; failing to zealously protect Plaintiff’s interests

as a result; and causing her to suffer millions of dollars of damages as a result of entering into the

2003 Transaction, in which Plaintiff was represented by Schnader.

         There can be no genuine issue of material fact that, as of 2014, Plaintiff “possesse[d]

sufficient critical facts to put [her] on notice that a wrong has been committed and that [s]he need

investigate to determine whether [s]he is entitled to redress.” Baselice, 879 A.2d at 276. Indeed,

having expressly declared a need for discovery on issues relating to Schnader’s alleged conflicts

in her Petition for Discovery, filed in the Orphans’ Court Litigation on June 23, 2015, Ex. 30

(Petition for Discovery by Anna K. Nupson) ¶ 18, Plaintiff cannot credibly contend that she was

not, as of that point in time, on notice that she was required to act with reasonable diligence to

investigate her alleged claims and assert them within the two year statute. Yet she waited far more

than two years to commence this action in 2018. On these undisputed facts, Plaintiff failed to

exercise reasonable diligence as a matter of law and her claims must be dismissed as untimely.

                        b.      Plaintiff’s Allegations of Other Alleged Misconduct Are at
                                Most Additional Evidence in Support of Her Already Accrued
                                Legal Malpractice Claim.

         Plaintiff’s effort to invoke equitable tolling principles fails for the independent reason that

the alleged undisclosed and “newly discovered” facts she cites are, at most, additional evidence

being offered in support of her already accrued professional negligence claims, rather than bases

for independent causes of action. As noted by the Third Circuit, “[t]he discovery rule does not

delay the running of the statute of limitations until a plaintiff is aware of all of the facts necessary


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to bring its cause of action.” New Castle Cty. v. Halliburton NUS Corp., 111 F.3d 1116, 1125 (3d

Cir. 1997); cf. Sherman Indus., Inc. v. Goldhammer, 683 F. Supp. 502, 509 (E.D. Pa. 1988) (“[T]he

discovery rule ordinarily is applied in cases in which a plaintiff is unaware initially that it has been

harmed, but is inapplicable where the plaintiff knows of the harm, but not the extent of it . . . .

Even late discovery of a major increase in the extent of harm does not toll the limitations period.”)

(citations omitted). Here, Plaintiff knew of the harm at issue no later than when Bradford sold JMI

in 2007 for a valuation that far exceeded that which formed the basis of what her trusts were paid

in 2003. Ex. 3 (Nupson Dep.) at 192:12–193:4.

         The Superior Court’s 2018 decision in Communications Network is directly on point. In

that case, the Court affirmed a decision granting summary judgment based on the statute of

limitations in a professional negligence action against an attorney where it was argued the statute

of limitations should be tolled by the plaintiff’s continued failure to investigate and discover

important facts. In so doing, the Court rejected a variety of tolling arguments similar to those

advanced by Plaintiff in this case. Of particular importance, the Court rejected plaintiff’s theory

that the statute of limitations was tolled by an attorney’s ongoing concealment of information

relevant to the claims against him. 187 A.3d at 964.

         The Superior Court further explained that permitting the limitations period to be restarted

by new or continuing acts of alleged misconduct, including the alleged ongoing nondisclosure of

important facts, “would defeat the fundamental purpose of the statute of limitations’ scheme,

which is to avoid stale claims.”8 Id. (“Under the occurrence rule, the statute of limitations period


         8
          The staleness of Plaintiff’s claims is underscored by her inability to recall key facts related
to the claims she brings in this Court. Asked the purpose of the December 19, 2002 family meeting
at which all family members and lawyers discussed settlement negotiations, Plaintiff testified,
“You have to understanding not only was this 25 years ago or more, it—I’m not sure what the
purpose of it was.” Ex. 3 (Nupson Dep.) at 41:3–5. Asked about the assignment that Plaintiff signed
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is triggered by the first act of alleged malpractice, not the last . . . [t]here is ‘no re-set’ button to

start the limitations period all over again.”); see also Baselice, 879 A.2d at 279 (“[T]o postpone

the accrual of causes of action until [appellant] completed [his] investigation of all potential

liability theories would destroy the effectiveness of the limitations period.”) (brackets in original);

Glenbrook Leasing, 839 A.2d at 441–42 (declining to adopt the “continuous representation rule,”

whereby “the continuous representation of a client by an attorney tolls the running of a statute of

limitations”).

         Plaintiff’s claims are based on Schnader’s alleged misconduct in causing her to enter into

the 2003 Transaction, during a time when Schnader purportedly had undisclosed conflicts of

interest. Plaintiff does not, and cannot, come forward with any evidence to show how the

circumstances surrounding the creation of the Original GRAT in 2001 (a transaction to which she

was not a party), and its subsequent modification, created a separate and distinct cause of action.

Plaintiff’s experts have advanced the theory that the oral trust and the modification of the Original

GRAT could have resulted in significant tax liability for John and Frances, and that Rosenfeld

should have somehow used the potential tax liability to give Plaintiff an advantage in negotiating

the redemption price with John, although her experts do not explicitly state what Rosenfield should

have threatened on Plaintiff’s behalf to achieve such alleged leverage. The history of the Original



in 1998, Plaintiff testified, “to recall precise wording and conversation of over a quarter a century
ago is difficult.” Id. at 52:18–20. Asked where Plaintiff was living in 2001, Plaintiff testified,
“February, March 2001, I could have been in Bryn Mawr. I also did a lot of traveling, but I believe
I may have been in Bryn Mawr. I may have been—let me think. March of 2001, I may have been
part-time in Lancaster. I may have been in a number of places. It was a long time ago.” Id. at
Nupson Dep. 68:11–16. Asked if Plaintiff knew to what she was referring in a letter that Plaintiff
sent to Defendant Rosenfield dated August 22, 2001, she testified, “Oh, heavens, no” and “And I
will tell you that was 25 years ago. I cannot begin to tell you.” Id. at 78:20, 80:18–19. And when
reviewing her own handwritten notes that recounted the terms of the GRAT that Plaintiff now
denies knowing, she testified, “I’m trying to reconstruct from 20 years ago . . . at a very turbulent
time in my life.” Id. at 112:16–19.
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GRAT did not create the alleged conflict; Rosenfield’s multiple representations created potential

conflicts that Plaintiff was aware of and waived in October 2002. Ex. 5 (Conflict Waiver Letter).

At best, the history of the Original GRAT is additional evidence to support the claim that had

already accrued relating to Rosenfeld’s representation of Plaintiff in the 2003 Transaction. Ex. 2

(3d Am. Compl.) ¶ 67. And in any event—as discussed more fully in Section II infra—the Original

GRAT’s oral formation could not be material new information that tolled the statute of limitations

because Plaintiff admitted in her sworn deposition testimony in this case that the Original GRAT

“was properly created, funded, and administered.” Ex. 3 (Nupson Dep.) at 244:9–20 (emphasis

added). Plaintiff’s reliance on the alleged “recent discovery” of the Original GRAT is plainly a

contrivance intended to escape the fact that her claims against Schnader are obviously time-barred.

         Separately, Plaintiff’s allegations about the oral nature and dating of the Original GRAT

cannot serve as a basis for any tolling doctrine. Had Plaintiff retained different counsel to represent

her in the 2003 Transaction, such counsel, like Lucia’s counsel, would not have had any knowledge

of the Original GRAT’s formation and could not have employed the negotiating “strategy”

suggested by Plaintiff’s experts—just as Lucia’s counsel could not pursue such a strategy. See

Wastvedt v. Vaaler, 430 N.W.2d 561, 568 (N.D. 1988) (granting a judgment notwithstanding the

verdict where plaintiffs alleged negligence and conflict of interest in drafting an agreement but

“plaintiffs presented no evidence . . . that an attorney with no conflict of interest would have

procured a different result for the plaintiffs”). Moreover, this advice and the oral nature of the

original GRAT has little if anything to do with Plaintiff’s claim of malpractice. She knew of

Schnader’s conflicts in 2002, see Ex. 5 (Conflict Waiver Letter), and she knew that the company

sold for much more than her trusts were paid in the family settlement in 2007, Ex. 3 (Nupson Dep.)

at 192:12–193:4.

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         In short, Plaintiff’s allegations about the Original GRAT, or any other allegedly newly-

discovered evidence, do not create a separate and distinct cause of action. They are, at most, a

footnote detail in the larger story that Plaintiff has repeatedly told since 2014 about Schnader’s

purported negligent and conflicted conduct in representing her. Because Plaintiff’s alleged claims

against Schnader were triggered as soon as she knew of a potential injury and its cause, and the

core of her claims against Schnader relate to a 2003 Transaction, these additional “concealed” facts

are immaterial to the dispositive legal question of when her cause of action against Schnader

accrued.

                2.     The Facts Do Not Show Any Fraudulent Concealment by Rosenfield.

         Finally, the fraudulent concealment doctrine is inapplicable because Schnader’s alleged

statements and nondisclosures do not rise to the level of conduct sufficient to toll the statute of

limitations.

         Fraudulent concealment requires that there “be an affirmative and independent act of

concealment that would divert or mislead the plaintiff from discovering the injury.” Mest v. Cabot

Corp., 449 F.3d 502, 517 (3d Cir. 2006) (emphasis added). Finding the doctrine of fraudulent

concealment inapplicable in a legal malpractice case, the Pennsylvania Superior Court recently

held that “[t]he defendant must have committed some affirmative independent act of concealment

upon which the plaintiffs justifiably relied.” Namani v. Bezark, Lerner, & Devirgilis, P.C., 2017

WL 57153, at *3 (Pa. Super. Ct. 2017) (emphasis added) (citing Lange v. Burd, 800 A.2d 336, 339

(Pa. Super. Ct. 2002), appeal denied, 818 A.2d 504 (Pa. 2003)). “[M]ere silence in the absence of

a duty to speak cannot suffice to prove fraudulent concealment.” Id.; see also Sevin v. Kelshaw,

611 A.2d 1232, 1236 (Pa. Super. Ct. 1992) (same).




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         Even if the Third Amended Complaint could be construed to allege that Rosenfield,

through his silence, implicitly assured Plaintiff that “all was well,” courts in this district have held

that a defendant’s general statements, such as that “everything was fine, and that [the plaintiffs]

should not worry” are insufficient to estop the defendant from raising the statute of limitations,

because “such general reassurances do not rise to the level of . . . specific representations”

necessary to constitute fraudulent concealment. Ciprut v. Moore, 540 F. Supp. 817, 821 (E.D. Pa.

1981), aff’d, 688 F.2d 819 (3d Cir. 1982).

         Here, as in Doe, Plaintiff has no evidence that Schnader made any affirmative statements

that caused Plaintiff to relax her vigilance or deviate from her duty of inquiry into the facts. To the

contrary, as discussed above, the record in this case and the sworn pleadings from the Orphans’

Court Litigation make clear that Plaintiff has believed for many years that the documents Schnader

drafted, and the advice Schnader provided, did not appropriately benefit her and that she has long

been concerned about Schnader’s alleged conflicts of interest. This Court has previously held that

“[r]eliance on the defendant’s conduct when the plaintiff has reason to believe otherwise is not

reasonable reliance and will not toll the statute of limitations.” Arndt v. Johnson & Johnson, 67 F.

Supp. 3d 673, 678 (E.D. Pa. 2014) (emphasis added).

         Plaintiff rhetorically characterizes the Conflict Waiver Letter as “false” and states that the

Conflict Waiver Letter “concealed” certain alleged conflicts of interest, but fails to offer any

evidence of any particular affirmative statements or acts of Defendant that would serve as the basis

for such tolling. Ex. 2 (3d Am. Compl.) ¶¶ 50–51. Plaintiff also contends that Rosenfield failed to

disclose facts concerning the alleged execution, backdating, and replacement of the Original

GRAT. But the failure to disclose those facts is not a basis for tolling under Pennsylvania law

because, as discussed above, those facts are not material to her malpractice claim.

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         Furthermore, where an attorney is under an affirmative obligation not to speak, honoring

that clear ethical obligation does not constitute fraudulent concealment as a matter of law. See

Rice, 255 A.3d at 253 (citing other jurisdictions) (“Assuming, arguendo, the imposition of a duty

to speak, the failure to do so does not trump a plaintiff’s due diligence obligation to investigate

other possible causes of her known injury.”). The facts concerning the execution, formation, and

dating of the Original GRAT related to Rosenfield’s representation of different clients, Frances as

settlor and John as trustee. Thus Rosenfield was prohibited from disclosing this information

pursuant to Pennsylvania Rule of Professional Conduct 1.6. See Maritrans, GP v. Pepper,

Hamilton & Scheetz, 602 A.2d 1277, 1280–81 (Pa. 1992) (enjoining attorney and law firm from

using client’s confidential information in representation of the competitors).

         There is simply no basis to toll the statute of limitations and Plaintiff’s claims are time-

barred. As such, summary judgment must be granted in Defendants’ favor.

    II. Plaintiff Cannot Maintain a Claim for Legal Malpractice Because She Admitted
        Dispositive Material Facts.

         Earlier in this case, Defendants moved to dismiss Plaintiff’s Second Amended Complaint

based, in part, on Plaintiff’s sworn statements in documents filed in the Montgomery County

Orphans’ Court [ECF 33]. Defendants also moved to deem admitted requests for admission based

on statements incorporated into a 2018 Settlement Agreement between Plaintiff and her brother,

which she signed and affirmed under oath in a colloquy before the Montgomery County Orphans’

Court [ECF 157]. Discovery gave Plaintiff an opportunity to develop evidence to support her

claims for legal malpractice in this case. But, when asked about those same statements in her

deposition in this case, Plaintiff admitted them again. Instead of supporting her own claims,

Plaintiff agreed with Defendants. Given Plaintiff’s admissions in her deposition, therefore, there

is no genuine dispute of material fact as to two of the three elements of a claim for legal
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malpractice: failure to exercise ordinary skill and knowledge and the proximate cause of her

damages. Because Plaintiff cannot put forth evidence to meet two of the three elements of a legal

malpractice claim, Defendants are entitled to judgment as a matter of law.

         Opposing-party admissions are fatal to Plaintiff’s claims. The Federal Rules of Civil

Procedure provide that “[a] party asserting that a fact cannot be . . . disputed must support the

assertion by . . . citing to particular parts of materials in the record, including depositions[] . . .

[and] admissions.” Fed. R. Civ. P. 56(c)(1)(A). Summary judgment is appropriate when an

opposing-party admission negates a necessary element of a plaintiff’s claim. See, e.g., Dinnerstein

v. Burlington Cty. Coll., 764 F. App’x 214, 218 (3d Cir. 2019) (affirming dismissal of employment

claims on summary judgment because plaintiff “admitted in his deposition that when he was

terminated on December 1, 2011, for yelling profanities at his supervisors, he knew that he had

been issued prior warnings, understood what the warnings meant, but had nevertheless used

profane language with his supervisors in violation of the Civility Policy”); Donovan v. Pittston

Area Sch. Dist., 218 F. Supp. 3d 304, 315 n.7 (M.D. Pa. 2016) (Quiñones Alejandro, J.) (dismissing

on summary judgment plaintiff’s procedural due process claim because, “in light of Plaintiff’s own

admissions and deposition testimony, Plaintiff received all the due process owed prior to her

demotion”).

         Pennsylvania requires that a plaintiff establish three basic elements to establish a claim of

legal malpractice: (1) employment of the attorney or another basis for duty; (2) the failure of the

attorney to exercise ordinary skill and knowledge; and (3) that the attorney’s negligence was the

proximate cause of damage to the plaintiff. Kituskie v. Corbman, 714 A.2d 1027, 1029 (Pa. 1998)

(citing Rizzo v. Haines, 555 A.2d 58, 65 (Pa. 1989)). In her deposition, Plaintiff admitted key facts

that defeat the second and third elements. Specifically, Plaintiff admitted that the Original GRAT

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was “was properly created, funded, and administered.” Ex. 3 (Nupson Dep.) at 244:9–20. This

admission defeats Plaintiff’s assertion that Schnader should have, in the exercise of reasonable

care, attacked the oral formation of the Original GRAT, allegedly to give her more leverage in the

negotiations leading to the 2003 Transaction. With the admission that the Original GRAT was

properly formed and funded, there was simply nothing to attack, even if such an attack were

otherwise prudent. Plaintiff also admitted that “the purchase price paid for the stock redeemed

from the modified 2001 GRAT and the Anna ’94 trust represented the fair value of the stock,”

defeating any allegation that Plaintiff suffered damages.

         In 2018, Plaintiff entered into a settlement agreement with John and Bradford confirming

these facts in exchange for a $22 million payment by Bradford. The 2018 Settlement Agreement

stated that “[t]he recitals set forth above are true and correct and are incorporated herein by

reference.” Ex. 26 (2018 Settlement Agreement) ¶ II.1. In her deposition, Plaintiff did not deny

the truth of the facts recited in the 2018 Settlement Agreement. She confirmed that she remembered

signing it, Ex. 3 (Nupson Dep.) at 232:9–22, that she asked the Orphans’ Court to approve it, id.

at 232:23–233:6, that she read the entire Agreement, id. at 233:23–24, and that she understood the

contents of the Agreement, id. at 237:5–9. She testified that if there had been something in the

agreement that she disagreed with, she would have told the Court in her colloquy that led the Court

to approve the agreement.9 Ex. 3 (Nupson Dep.) at 237:10–13. She admitted that certain provisions

were true:


         9
        Not only did Plaintiff sign the 2018 Settlement Agreement in exchange for $22 million,
but she also confirmed her understanding of the 2018 Settlement Agreement under oath in a
colloquy with the Montgomery County Orphans’ Court and led the Court to enter an order
approving the settlement:

         Q.     Has counsel explained the agreement to you?
         A.     Yes, Your Honor.
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         Q.    ...
               And one of the things that you represent in Paragraph 3(b) is that, “The
               original 2001 GRAT was properly created, funded, and administered.” Do
               you see that?
         A.    Yes.
         Q.    Okay. You further represent, “That all GRAT annuity payments were
               made to Frances, and that the remainder interest was modified, and the
               modified 2001 GRAT reflects Frances’ and all beneficiaries’ intentions.”
               Do you see that?
         A.    Yes.
         Q.    And you agree that’s true?
               MR. DAVIS: Objection to form; foundation. Go ahead.
         A.    Yes.
         Q.    Okay. And it further says, “Anna forever waives her right to contest the
               2001 GRAT.”
         A.    Yes.
         Q.    Okay. And let’s skip down to Paragraph 3(f) on Page 21. Paragraph F
               says, “Anna agrees that Bradford and subsidiaries faced substantial risks
               as a result of the tobacco litigation.” That is also true; right?
               MR. DAVIS: Objection to form. Go ahead and answer.
         A.    Yes.
         Q.    Okay. It goes on to say, “That it was possible that the value of Bradford
               stock would decrease significantly based on industry-wide legal changes.”
               That was true—
               MR. DAVIS: Objection; form, go ahead.
         Q.    —right?
         A.    Yes.




         Q.    Do you understand the contents of the agreement?
         A.    Yes, Your Honor.
         Q.    Do you understand the effect of the agreement?
         A.    Yes, Your Honor.
         ...
         Q.    Are you entering into this agreement of your own free will and volition?
         A.    Yes, Your Honor.
         Q.    After considering the facts, the risks, the expense, and the possible
               outcomes, and with the advice of your counsel, do you wish to enter into
               this agreement?
         A.    Yes, Your Honor.
         Q.    And are you asking the Court to approve the settlement?
         A.    Yes, Your Honor, please. Thank you.

Ex. 33 (Transcript, In re Estate of Herbert H. Middleton, Deceased, No. 1998-X1871 (Pa. O.C.
Montg. Cty. Feb. 26, 2018)) at 16, 19–20.
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         Q.     Okay. And that concludes by saying, “That the purchase price paid for the
                stock redeemed from the modified 2001 GRAT and the Anna ’94 trust
                represented the fair value of the stock.” That was true, right?
                MR. DAVIS: Objection to form. Go ahead and answer.
         A.     Yes, that’s what it said.
         Q.     And it was true when you signed the agreement?
                MR. DAVIS: Objection to form. Go ahead and answer.
         A.     Yes.

Id. at 244:8–246:4.

         Plaintiff admitted in her deposition in this case that the facts recited in the 2018 Settlement

Agreement were true. And these facts show that Plaintiff had no basis to challenge the Original

GRAT even if she had known everything about how it was formed because she admits that “the

original 2001 GRAT was properly created, funded, and administered.”10 Id. at 244:9–13. Since

there is no basis to challenge the Original GRAT, Mr. Rosenfield’s failure to challenge it could

not have caused any damages by definition. Plaintiff also admitted there was no harm from any

alleged breach of duty with respect to the 2003 settlement agreements and the 2003 Transaction

because the purchase price that she received “represented the fair value of the stock,” and thus she

suffered no harm from redeeming her stock at that time. These admissions are fatal to her

professional negligence and breach of fiduciary duty claims.

         In this case, the Court afforded Plaintiff the opportunity to develop a record to support her

claims notwithstanding her sworn statements of fact in the Orphans’ Court that completely


         10
           Defendants previously posed questions from the 2018 Settlement Agreement in Requests
for Admission directed to Plaintiff. In Supplemental and Amended Responses [ECF 157-3],
Plaintiff specifically denied, among others, Request for Admission No. 52, “that the Original 2001
GRAT was properly created, funded, and administered,” and Request for Admission No. 61, “that
the purchase price paid for the stock redeemed from the Modified 2001 GRAT and the Anna 1994
Trusts represented the fair value of the stock.” The Court denied Defendants’ Motion to Deem
Defendants’ Requests for Admission Admitted [ECF 157], but the Court noted that “Plaintiff is
reminded that she may be required to pay reasonable costs, including attorney’s fees, if Defendants
later prove the denied facts to be true. See Fed. R. Civ. P. 37(c)(2).” [ECF 164]. Plaintiff
subsequently admitted these Requests for Admission in her deposition.
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contradict the allegations in this case. She did not. Instead, under oath in her deposition in this

case, she agreed with Defendants—admitting the same facts she represented to the Orphans’ Court

all along. These admissions are fatal to her claims here. Plaintiff had her chance to make her case,

but with her admissions, she should not be allowed to prolong this litigation any further. Schnader

is entitled to judgment as a matter of law.

    III. Plaintiff Cannot Meet Her Burden to Establish that Any Alleged Breach by
         Rosenfield Caused Her Alleged Damages.

         Even were Plaintiff’s claim not time-barred, Plaintiff cannot sustain her burden of proof

with respect to damages and her malpractice claim therefore fails for four reasons. First, Plaintiff’s

claimed damages are entirely speculative, as she has not and cannot put forth evidence that her

brother, John, would have agreed to purchase her shares in Bradford for a higher price.11 Next,

Plaintiff owned none of the redeemed stock. Even if Bradford would have agreed to a higher

purchase price, any such damages would inure to the trusts that owned the stock rather than to

Plaintiff. Plaintiff owned no stock in her individual capacity (the only capacity in which she asserts

claims in this matter). Plaintiff does not have standing to pursue such damages for the trusts and

has made no effort to do so. Next, any damages Plaintiff could prove must be offset by the $22

million she received in her 2018 settlement with John and Bradford. Finally, Plaintiff has built no

record in support of the high standard required for an award of punitive damages.

         To establish a claim for legal malpractice, a Plaintiff must adduce evidence to show that

the attorney’s negligence was the proximate cause of damage to the plaintiff. Kituskie, 714 A.2d

at 1029 (citing Rizzo, 555 A.2d at 65). Pennsylvania courts have consistently required legal

malpractice plaintiffs to prove that the harm claimed would not have occurred “but for” the conduct


         11
          In fact, John has declared under penalty of perjury that he would not have agreed for
Bradford to pay more for his sisters’ shares in the 2003 Transaction. Ex. 8 (John Dec.) ¶ 10.
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of the defendant attorney. Myers v. Robert Lewis Seigle, P.C., 751 A.2d 1182, 1185 (Pa. Super.

Ct.), appeal denied, 795 A.2d 978 (Pa. 2000); Duke & Co. v. Anderson, 418 A.2d 613, 618 (Pa.

Super. Ct. 1980); Schenkel v. Monheit, 405 A.2d 493, 494 (Pa. Super. Ct. 1979); Trice, 515 A.2d

at 13. In order to show that the attorney’s conduct was the proximate cause of the plaintiff’s alleged

damages, the plaintiff must prove that the attorney’s failure to adhere to the standard of care was

a substantial factor in bringing about the plaintiff’s alleged harm, not merely one in a series of

factors leading up to the alleged damages. Eckroth v. Pa. Elec., Inc., 12 A.3d 422, 428 (Pa. Super.

Ct. 2010) (internal citations omitted). In malpractice claims arising out of litigation, the former

client must prove the “case within a case,” Kituskie, 714 A.2d at 1030, to establish that the outcome

would have been better but for the attorney’s negligence. Id. The burden is on the malpractice

plaintiff to prove “that the attorney’s negligence caused him to lose the case he otherwise would

have, not could have, won.” Nkansah v. Kleinbard LLC, Civ. A. No. 19-4472, 2021 WL 1238892,

at *3 (E.D. Pa. Apr. 1, 2021) (emphasis in original) (citing Myers, 751 A.2d at 1185). Although

the terminology differs in legal malpractice cases involving transactions, like here, the required

elements do not. ASTech Int’l, LLC v. Husick, 676 F. Supp. 2d 389, 401–02 (E.D. Pa. 2009).

Plaintiffs must still satisfy the proximate causation prong by proving that the plaintiff would not

have suffered an actual loss but for the legal malpractice. Id. Therefore, in order to prove that the

conduct was the proximate cause of the damage to Plaintiff, Plaintiff must be able to establish by

a preponderance of the evidence that the outcome would have been in her favor but for

Rosenfield’s actions. Duke & Co., 418 A.2d at 618; Schenkel, 405 A.2d at 494; Trice, 515 A.2d at

13.

         Plaintiff must also prove actual loss. Kituskie, 714 A.2d at 1030; Veneri v. Pappano, 622

A.2d 977, 979 (Pa. Super. Ct. 1993); Rogers v. Williams, 616 A.2d 1031, 1034 (Pa. Super. Ct.

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1992); Pashak v. Barish, 450 A.2d 67, 68 (Pa. Super. Ct. 1982); Schenkel, 405 A.2d at 399 (“Proof

of damages is as crucial to a professional negligence action for legal malpractice as is proof of the

negligence itself.”). In order to prevail, a plaintiff must demonstrate that she suffered actual loss

rather than only nominal damages, speculative harm, or the threat of future harm. Rizzo, 555 A.2d

at 68. Damages are considered remote or speculative if there is uncertainty concerning the

identification of the existence of damages, not just the inability to precisely calculate the amount

or value of damages. Id.; Pashak, 450 A.2d at 69; Nelson v. Heslin, 806 A.2d 873, 876 (Pa. Super.

Ct. 2002), appeal denied, 831 A.2d 600 (Pa. 2003) (“An essential element to this cause of action

is proof of actual loss rather than a breach of a professional duty causing only nominal damages,

speculative harm or threat of future harm”) (citation omitted). “Regardless of whether the method

of proof is characterized as ‘case-within-a-case’ [or] ‘transaction within-a-case’ . . . Pennsylvania

courts have been very clear that plaintiffs in all malpractice actions must prove actual loss. To do

so, they must prove that the underlying legal representation would have achieved whatever the

plaintiffs hoped to achieve.” Astech Int’l, 676 F. Supp. 2d at 402.

         A.     Plaintiff’s Alleged Damages Are Too Speculative for Recovery as a Matter of
                Law, As She Has Not and Cannot Present Evidence John Would Have Paid a
                Higher Price for Her Shares.

         Because Plaintiff has put forth no evidence that Bradford would have agreed to redeem her

shares for a higher price, or that it even had the ability to do so, regardless of whatever advocacy

Plaintiff claims attorney Rosenfield should have deployed, Plaintiff’s claimed damages are too

speculative for recovery under Pennsylvania law and her legal malpractice claims therefore fail.

         In cases such as this one, where the plaintiff alleges she could have secured a “better deal”

but for the defendant’s negligence, the Pennsylvania Superior Court has held that the plaintiff must

provide evidence that the contract counter-party would have agreed to that “better deal.” Lewis v.


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Pietragallo Bosick & Gordon, LLP, No. 1607 WDA 2012, 2013 WL 11247432, at *5 (Pa. Super.

Ct. Dec. 5, 2013). In Lewis, the plaintiff sued the defendant attorney for legal malpractice in

connection with the attorney’s representation of him in drafting a “cohabitation” and custody

agreement with his then-girlfriend. Id. at *1. During negotiations, the plaintiff insisted on terms

for payment of a lump sum to his paramour if the relationship were terminated and his girlfriend

insisted instead on installment payments. Id. The plaintiff’s attorney sent him a draft contract

containing the installment payments, which he signed without conferring with the attorney. Id.

Subsequently, the relationship ended and the installment payment provision was enforced. Id. at

*2. The plaintiff then brought claims for legal malpractice against his attorney. Id. Finding that

there was no indication the plaintiff’s girlfriend would have agreed to the plaintiff’s desired lump

sum payment, the Superior Court held that the plaintiff’s damages were speculative and therefore

his malpractice claim failed. Id. at *5; see also Mariscotti v. Tinari, 485 A.2d 56 (Pa. Super. Ct.

1984) (where the client sued attorney because attorney incorrectly valued certain stock during

divorce settlement and claimed she would have been in a better bargaining position had she known

the correct value of the stock, the court held that damages were too speculative because the client

could only guess that she may have been able to achieve a better settlement)

         Many other federal and state courts have likewise found that a plaintiff must provide

evidence that the contract counter-party would have agreed to the alternative terms. See, e.g., Nail

v. Husch Blackwell Sanders, LLP, 436 S.W.3d 556, 565 (Mo. 2014) (granting summary judgment

in favor of defendant attorney because plaintiff had to prove that former employer would have

agreed to include the necessary provisions in the settlement agreement and, without such evidence,

had failed to show that, but for the law firm’s allegedly negligent drafting of a settlement

agreement, he would have obtained a more favorable outcome); McDevitt v. Guenther, 522 F.

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Supp. 2d 1272, 1288 (D. Hawaii 2007) (where plaintiff sued lawyer asserting she improperly

drafted a prenuptial agreement such that it did not provide a term allegedly orally agreed to prior

to formal negotiations, court found that damages were impossibly speculative because they were

based upon an unenforceable oral agreement and because it was impossible to know what the

outcome of a negotiated agreement would have been); Vestar Dev., II, LLC v. Gen. Dynamics

Corp., 249 F.3d 958, 962 (9th Cir. 2001) (holding damages are impermissibly speculative when

based upon a nonbinding agreement that did not set terms because “[t]here is no way to know what

the terms of the eventual sale would have been-or even if a deal would have been reached.”);

Blackhawk Bldg. Sys., Ltd. v. The Law Firm of Aspelmeier, Fish, Power, Warner & Engberg, 428

N.W.2d 288, 290–91 (Iowa 1988) (finding that legal malpractice claim was defective where there

was no evidence that the other party would have agreed to include a non-compete provision in

contract at issue); Wastvedt, 430 N.W.2d at 568 (granting a judgment notwithstanding the verdict

where plaintiffs alleged negligence and conflict of interest in drafting an agreement, but “plaintiffs

presented no evidence to establish that, but for [the attorney’s] conflict of interest, they would have

received . . . a different price for their stock. There was no evidence that an attorney with no conflict

of interest would have procured a different result for the plaintiffs”); Raske v. Gavin, 438 N.W.2d

704, 706 (Minn. Ct. Ex. 1989) (dismissing legal malpractice claim where there was no evidence

that the other party to the negotiations would have sold his shares for less than he did in the absence

of the alleged negligence).

         Plaintiff fails to adduce any evidence to connect Rosenfield’s alleged negligence to any

actual loss. That is, while she makes allegations and attempts to present (albeit insufficient)

evidence that Rosenfield “breached” his duty to her and puts forth a modicum of evidence

endeavoring to set a value on her “damages,” she fails to offer any evidence of a causal connection

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between Rosenfield’s alleged breaches and her alleged damages. Plaintiff does not even allege that

John would have paid more had Rosenfield taken a harder negotiating position (as her experts state

he should have done), let alone provide any documentary evidence.12 Although not an admission,

Plaintiff’s own expert expressly acknowledges that “[w]e will never know what effect this possible

strategy might have had on the outcome of those negotiations.” Ex. 31 (Expert Report of Thomas

Ross) at 6. In his rebuttal report, Plaintiff’s expert doubled down, opining that “[w]e will never

know with certainty what outcome might have been obtained for Anna Nupson” and recognizing

that his own opinion was “speculation.” Ex. 34 (Rebuttal Expert Report of Thomas Ross) at 4

(“Yet, all this speculation—the speculation of the opposing Reports as well as my own above—is

ultimately beside the point for the Rule 1.7(b) analysis.”) (emphases added).

         In contrast, the circumstances surrounding the 2003 Transaction suggest that Plaintiff’s

expert’s conjecture is incorrect. Anna’s claims are premised upon speculation that an independent,

unconflicted attorney could have negotiated a better deal for her in the 2003 Transaction. To jump

to that conclusion, however, one would need to disregard the undisputed fact that independent,

unconflicted attorneys representing another party to the 2003 Transaction, Lucia, negotiated the

exact same purchase price for redemption of their client’s shares.

         In fact, John has explicitly stated under penalty of perjury that he would not have agreed

for Bradford to pay more than he offered even if his sisters had sought to negotiate for a higher



         12
          Of note, courts adopting the case within a case standard in transactional settings generally
hold expert witness testimony alone is insufficient for a plaintiff to meet the burden to show
causation of actual loss. See, e.g., Hazel & Thomas, P.C. v. Yavari, 465 S.E.2d 812, 815 (Va. 1996)
(holding it insufficient for a plaintiff to prove causation with only expert testimony; plaintiff must
produce evidence from the underlying transaction to sustain this burden); Froom v. Perel, 872
A.2d 1067 (N.J. Super. Ct. 2005) (holding expert testimony insufficient to establish causation
where fact witnesses’ testimony failed to provide an evidential foundation).

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price. Ex. 8 (John Dec.) ¶ 10.13 Moreover, in a 2016 affidavit submitted in the Orphans’ Court

Litigation, John attested that he would not have agreed to several terms beneficial to Anna had she

not agreed to Bradford’s proposed purchase price including: “(i) mandatory principal distributions

to Anna of $1,000,000 per year for her subtrust, (ii) distribution of the remaining principal assets

of the subtrust for Anna’s benefit to Anna in February 2028, or (iii) a power of appointment over

the principal assets of the subtrust for Anna’s benefit that could be exercised by Anna other than

equally between Lucia’s family and my family.” Ex. 1 (John Aff.) ¶ 17. All of these benefits were

achieved through Rosenfield’s negotiations on Anna’s behalf. Entirely uncontested, John’s

testimony is conclusive on this question. See, e.g., Twice Baked, LLC v. Gross, No. 341378, 2019

WL 943191, at *3 (Mich. Ct. App. Feb. 26, 2019) (affirming trial court dismissal of legal

malpractice claim for failure to prove causation where plaintiff offered no evidence negotiating

partners would have agreed to contract provision requested by plaintiff and defendant provided

affidavits that partners would not have agreed to same). As the Superior Court recognized in Lewis

and as likewise held by several other state and federal courts, all the hard bargaining in the world

cannot force an unwilling negotiating partner to capitulate.

         Moreover, despite having received thousands of pages of Bradford financial records

contemporaneous to the 2003 Transaction in connection with the Orphans’ Court Litigation,

Plaintiff has made no documentary showing nor offered any expert opinion that Bradford even

could have paid more for her shares. The redemption of the Middleton sisters’ shares in 2003


         13
           It is notable that, although she noticed his deposition, Plaintiff ultimately made the
strategic choice not to depose John in this case. Rather, she ran from the one person who had
knowledge of what John would have done on Bradford’s behalf in the hope that by not having his
refusal on the record, her experts would not have to take it into account and she could survive
summary judgment. Nevertheless, John has provided testimony on this question and definitively
stated that Bradford would not have paid more for Anna’s Bradford shares in the 2003 Transaction.
Ex. 8 (John Dec.) ¶ 10).
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required an enormous capital outlay. In the absence of any evidence that Bradford had the cash

reserves to pay a higher price, Plaintiff’s damages are even more speculative. Thus, as a matter of

law, Plaintiff’s damages are simply too speculative to permit a recovery and, therefore, her legal

malpractice claim fails in its entirety.

         For these reasons, Plaintiff cannot prove that she suffered actual loss as a result of any

alleged breach by Rosenfield, a shortcoming fatal to her claim for legal malpractice. Accordingly,

summary judgment should be entered in favor of Defendants and against Plaintiff.

         B.     Any Damages Plaintiff Can Prove Cannot Be Recovered By Her Because
                “Her” Alleged Damages Inure to Trusts, Not to Her Individually.

         Even if Plaintiff were able to prove an actual, non-speculative loss, any remedy for such

loss would inure to trusts partly for Plaintiff’s benefit rather than to Plaintiff herself. All of the

stock redeemed in the 2003 Transaction was owned by these trusts; no stock was owned by

Plaintiff. Because Pennsylvania law provides that only a trustee may bring an action to recover on

behalf of a trust—and one of Plaintiff’s trusts in particular requires the consent of two trustees—

Plaintiff does not have standing to pursue the damages alleged here. Plaintiff has not attempted to

assert any claims derivatively on behalf of the trusts and such claims are clearly now time barred.

          “The Pennsylvania Supreme Court long ago held that ‘where the legal estate is vested in

a trustee, all actions at law which affect the trust estate must be brought in his name.’” Shrader v.

Legg Mason Wood Walker, Inc., No. CIV. A. 93-3967, 1993 WL 532911, at *4 (E.D. Pa. Dec. 20,

1993) (quoting Pa. R. Co. v. Duncan, 5 A. 742, 746 (Pa. 1886)). As such, a trust beneficiary does

not have standing to bring tort claim for injury to trust. Shrader, 1993 WL 532911, at *4; see also

4 Austin W. Scott & William F. Fratcher, Scott on Trusts § 294.1 (4th ed. 1989) (when a “third

person commits a tort with respect to the trust property, the trustee and not the beneficiary is

ordinarily the proper party to bring an action against him”). A trust beneficiary has standing to sue
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the “tortfeasor only if the trustee improperly refuses or neglects to bring an action, or if the trustee

cannot be subjected to the jurisdiction of the court, or if there is a vacancy in the office of trustee.”

Shrader, 1993 WL 532911, at *4 (quoting Scott, § 294.1).

         There is no dispute in this case that Plaintiff asserts claims only in her individual capacity,

see generally Ex. 2 (3d Am. Compl.), and has made no efforts to bring a claim as trustee or

derivatively on behalf of any trust. Plaintiff has asserted no derivative rights and it is now too late

to do so.

         There is no genuine issue of fact that all of the Bradford stock in which Plaintiff had an

interest was owned either by her 1994 Trust or by the Modified GRAT. In the Family Settlement

Agreement, Bradford agreed to purchase stock sold by “Lucia, the Anna Trust fbo Hughes [the

1994 Trust], the GRAT, Alexander, the JSM Hughes Custodial Accounts, the LMH Hughes

Custodial Accounts and the Hughes Trusts.” Ex. 10 (Family Settlement Agreement) ¶ 4. Notably,

Bradford did not purchase stock from Plaintiff individually. Instead, Bradford purchased stock

from two trusts partly for her benefit: the 1994 Trust and the Modified GRAT.

         To the extent Plaintiff might have sought damages on behalf of those trusts, she would not

have standing to do so. As to the Modified GRAT, Anna is not a trustee and the 2001 Trust funded

as a result of the Modified GRAT was only a one-third beneficiary. Ex. 18 (Modified GRAT).

Under the 1994 Trust, a majority of the trustees are required to act on behalf of the trust. Ex. 19

(1994 Trust). Although Anna is a trustee of the 1994 Trust, she is but one of two—falling short of

the majority required to bring suit. Furthermore, even if Plaintiff had the individual authority as

trustee to institute suit, she has failed to bring this action in her capacity as trustee, as required by

Duncan. As such, she is unable to seek or recover damages inuring to the trusts.




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         Even if Plaintiff now sought to bring an action on behalf of a trust, that action would be

time-barred even under Plaintiff’s overly lenient theory of the statute of limitations. Since 2018,

Plaintiff has filed four complaints, none of which purported to bring a claim on behalf of a trust.

Any attempt to do so now must be barred by the statute of limitations.

         Where Plaintiff seeks damages inuring to trusts in part for her benefit rather than to her as

an individual and has failed to bring suit in their names or in a derivative capacity, she does not

have standing to pursue the damages sought here. Accordingly, summary judgment should be

granted in favor of Defendants.

         C.     Any Damages Plaintiff Can Prove Must Be Offset by Her 2018 Settlement.

         Because Plaintiff has already recovered $22 million related to the 2003 transactions in her

2018 Orphans’ Court settlement with her brother and Bradford, any damages Plaintiff could prove

here must be offset by that amount.

         It is axiomatic that a plaintiff cannot recover twice for the same damages. Pennsylvania

law “requires that the actual loss only should be allowed to be recovered . . . . The object of the

law is to compensate the party injured. He is entitled to this, and nothing more, and in all cases

compensation must be limited to the loss actually sustained . . . . [A prevailing plaintiff is] entitled

to compensation for their actual loss, but nothing more.” Morris v. Supplee, 57 A. 566, 568 (Pa.

1904); see also Green v. Altman, No. CIV.A.03-6437, 2004 WL 2106552, at *9 (E.D. Pa. Sept.

21, 2004) (law seeks to “prevent double recovery for a single wrong”). “As noted by the Superior

Court, ‘it would be inequitable for the plaintiff to be able to obtain a judgment against the attorney

which is greater than the judgment that the plaintiff could have collected from the third party; the

plaintiff would be receiving a windfall at the attorney’s expense.’” Kituskie, 714 A.2d at 1030

(quoting Kituskie v. Corbman, 682 A.2d 378, 382 (Pa. Super. Ct. 1996)).


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         This principle is illustrated by Bochetto & Lentz, P.C. v. Datz, No. 3165 EDA 2014, 2016

WL 490053, at *1 (Pa. Super. Ct. Feb. 5, 2016), in which the Superior Court upheld the trial court’s

grant of summary judgment in favor of the defendant because the plaintiff had already recovered

all of its damages against a third party in another action. In Bochetto, an associate with the plaintiff

law firm (“Bochetto”) allegedly referred a case without his firm’s consent to another firm, which

then settled the case and obtained a fee of $86,000. Id. The Bochetto firm sued the other law firm

in court and the associate in arbitration. While the lawsuit was pending, the arbitration was

resolved with the Bochetto firm awarded the entire fee. Id. at *2. Based on the “undisputed fact

that plaintiff has already recovered damages in connection with the improper referral” and the

law’s general prohibition against “double recovery,” the trial court granted the defendant law

firm’s motion for summary judgment, stating: “plaintiff, having already received its pound of

flesh—to which it was clearly entitled—must move on from this sad tale of double-dealing . . . .

[A]warding plaintiff additional damages would be redundant punishment and unjustly enrich [it] .

. . . Having received its due, it is time for plaintiff to ‘let it go.’” Id. at *7.

         Plaintiff’s claims in the Orphans’ Court litigation sought to recover the same damages she

seeks in this action. The 2018 Settlement Agreement specifically provides that it is entered into in

resolution of the Middleton siblings’ various claims with respect to, among other trusts, “the Anna

1994 Trust, the Original 2001 GRAT, [and] the Modified 2001 GRAT,” Ex. 26 (2018 Settlement

Agreement) ¶ I.85, which claims included Plaintiff’s allegations that John had breached his

fiduciary duties, committed fraud, and conspired against her in connection with the 2003 Master

Settlement Agreement, id. ¶¶ I.69, 74–75. In consideration for Anna’s settlement of those claims,

Bradford paid Plaintiff an additional $22 million, id. ¶ II.2(b), and John and Bradford granted her

other non-monetary concessions related to the 2001 GRAT, id. ¶ II.2(c). The $22 million

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settlement payment by Bradford demonstrates the unambiguous connection between that payment

and the alleged “injury” for which she seeks to recover here (i.e., the redemption of Bradford

shares in 2003). As in Bochetto, Plaintiff cannot recover twice from two different parties for the

same alleged damages related to the 2003 Transaction. As such, any recovery here must be offset

by the $22 million she recovered from her brother in 2018.

         Because Plaintiff’s 2018 Orphans’ Court settlement compensated her for the same damages

sought in this action, any recovery by her in this matter—although none is warranted—must be

offset by the $22 million she received there.

         D.     Plaintiff Has No Evidence to Meet the High Standard for Punitive Damages.

         Defendants should also be granted summary judgment on Plaintiff’s claims for punitive

damages. To recover punitive damages, a plaintiff must not only prove her claim, but she must

prove the higher standard that the defendant’s conduct was “outrageous.” Rizzo, 555 A.2d at 69.

The conduct must have been malicious, wanton, reckless, willful, or oppressive to support punitive

damages. Id. The actor’s state of mind must have been intentional, reckless, or malicious. Id.

Courts examine the act itself in relation to all of surrounding circumstances, including the motive

of the actor and the relationship between the parties. Id. Allegations of bad legal advice and

breaches of professional duty alone cannot sustain a claim for punitive damages. Meyers v. Sudfeld,

No. 05-CV-2970, 2007 WL 419182, at *12–13 (E.D. Pa. Feb. 2, 2007). There must also exist a

plausible allegation of an attorney’s evil motive or reckless indifference to the rights of the client

for the punitive damages claim to survive judgment as a matter of law. See Rizzo, 555 A.2d at 69;

Meyers, 2007 WL 419182, at *12–13.

         The record fails to contain any evidence sufficient for plaintiff to meet the high standard

for punitive damages. Plaintiff alleges that Defendants provided her with advice that caused her to


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sell her Bradford shares at a low value. She also alleges that Rosenfield violated the Rules of

Professional Conduct by representing her with conflicting interests even though conflicts were

disclosed at the time and she signed the Conflict Waiver Letter. Ex. 5 (Conflict Waiver Letter).

But these allegations alone are not “outrageous” to justify punitive damages. Plaintiff must put

forth evidence that Defendants held some evil motive or acted in reckless indifference to her

interests when they advised her and allegedly violated the Rules of Professional Conduct. At least

one Pennsylvania court has held that an attorney’s representation of both the buyer and the seller

in a transaction was not outrageous to warrant punitive damages. Marra v. Lipsky, No. C-48-CV-

2014-4260, 2015 WL 13778390, at *3, (Pa. Ct. C.P. Northampton Cty. Feb. 23, 2015).

         In sum, Plaintiff has developed no record to support that Defendants held an evil motive

or acted in reckless indifference to Plaintiff’s interests. Without such evidence at the summary

judgment stage, Plaintiff cannot make out a claim for punitive damages. Defendants are entitled

to judgment on Plaintiff’s punitive damages claim as a matter of law.

                                         CONCLUSION

         Accordingly, Defendants are entitled to summary judgment on all counts.

                                                     Respectfully submitted,

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